   Case 3:15-cr-00240-MHT-CSC Document 145 Filed 09/24/20 Page 1 of 2




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

      MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


UNITED STATES OF AMERICA                )
                                        )     CRIMINAL ACTION NO.
     v.                                 )        3:15cr240-MHT
                                        )             (WO)
STEPHEN HOWARD                          )

                                   ORDER

    In accordance with the opinion entered on September

22, 2020, and based on the representations made on the

record    during   the      conference       call     on   September    23,

2020, it is ORDERED as follows:

    (1)     Defendant         Stephen         Howard’s      motion      for

compassionate release (doc. no. 102) is granted, as set

forth below.

    (2) Pursuant         to        18       U.S.C.     § 3582(c)(1)(A),

defendant Howard’s sentence of incarceration is reduced

to time served, with the sentence reduction effective

on October 7, 2020.           In the meantime, defendant Howard

shall undergo quarantine in the Bureau of Prisons.

    (3) Pursuant       to     18    U.S.C.     §     3582(c)(1)(A),     the

court imposes an additional term of supervised release
   Case 3:15-cr-00240-MHT-CSC Document 145 Filed 09/24/20 Page 2 of 2




with home confinement for 17 months.                  This shall be

followed by the previously imposed term of three years

supervised release.

    An amended judgment will be entered separately.

    DONE, this the 24th day of September, 2020.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
